  Case 7:16-cv-00108-O Document 123 Filed 12/13/18              Page 1 of 1 PageID 2932


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                             WICHITA FALLS DIVISION

 FRANCISCAN ALLIANCE, INC. et al.,            §
                                              §
        Plaintiffs,                           §
                                              §
 v.                                           §    Civil Action No. 7:16-cv-00108-O
                                              §
 ALEX M. AZAR II, Secretary of the            §
 United States Department of Health and       §
 Human Services; and UNITED STATES            §
 DEPARTMENT OF HEALTH AND                     §
 HUMAN SERVICES,                              §
                                              §
        Defendants.                           §


                                          ORDER

       Before the Court is Plaintiffs’ Unopposed Motion for Status Conference (ECF No. 121),

filed December 11, 2018. The Court sets this matter for a status conference hearing on

Wednesday, December 19, 2018, at 8:30 a.m. in the Second Floor Courtroom of the Eldon B.

Mahon United States Courthouse, located at 501 W. 10th Street, Fort Worth, Texas.

       SO ORDERED on this 13th day of December, 2018.



                                               _____________________________________
                                               Reed O’Connor
                                               UNITED STATES DISTRICT JUDGE
